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                                                                                                                      0-884-961-4



                                     St. George's University



                                                                                               STEPHEN WEITZMAN, MD
                                                                                               Dean, School of Medicine


                            Medical Student Performance Evaluation
                                                              for

                                        DEMETRJOS VOR IAS, MD, MA
                                              Student's Legal Name

                                                       April 10, 2017
                                                             Date

identifying lnformation
Demetrios Vorgias, .MD is a graduate of St. George's University School of Medicine in Grenada, West
Indies.

Unique Characteristics
Dr. Vorgias is a 2000 graduate of University of California (UCB), Berkeley, CA, where he earned a
Bachelor of Arts in Molecular and Cell Biology with a minor in English (93-00). In 2005, Demetrios
matriculated into Boston University School of Medicine (BUSOM), Boston, MA, where he earned a
Master of Arts with Honors in Medical Science in 2009. Highlights of his research while at BUSOM
includes his Honors research thesis and poster presentation titled 'In Vivo Treatment of Colon Cancer
with (gemini) Vitamin D Analogs as Potential Colon Cancer Chemotherapeutic Agents', which earned
honorary mention on Evans Research Day (09). He additionally made contributions to research
pertaining to 'Serum BDNF Alters Risk of Stroke and .MRI Vascular Brain Injury; The Framingham
Study', published in Neurology (12), and 'Serum Brain-Derived Neurotrophic Factor and Vascular
Endothelial Growth Factor Levels Are Associated With Risk of Stroke and Vascular Brain Injury: The
Framingham Study', published in Stroke (13), and 'Serum Brain-Derived Neurotrophic Factor and the
Risk for Dementia: The Framingham Heart Study', published in JAMA Neurology (14). His earlier
studies at BUSOM resulted in poster presentations titled 'Comparing Calcium levels in Sprague-D"wley
rats when dosed with 3 doses of vitamin D and a vitamin D analog', and 'Comparing the Anti-tumor
qualities of 2 Vitamin D analogs and Vitamin D at 3 different doses in Balb/C mice' (08-09). While
completing his studies, he worked as a BUSOM Medical Histology Tutor and Teaching Assistant (06-09),
and as a Group Home Counselor at the Villa Rosanne Group Home in San Jose, CA, where he worked
with at-risk youth and wards of the state. This included tutoring, crisis management, conflict resolution,
mentoring, and teaching (00-05). He also served as a volunteer member of BUSOM's Outreach Van
Project (06-08).

During medical school, Dr. Vorgias was a member of the Emergency Medicine Club, which helps
students learn more about EM and contributes to the improvement of healthcare in Grenada through

                                              University Centre, Grenada, West Indies

  NORTH AMERICAN CORRESPONDENT: r:lo University Support Services, LLC, 3500 Sunrise Highway, Building 300, Great River, NY 11739
                             Phone: 631-665-8500, Ext. 1279 ♦ Fax: 631-665-3627



                                                           EX. 11
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 fundraisers and outreach programs (11-13), and participated in the Journal Club, in which members
 analyze recent medical research and present summaries to their peers (12-13). Demetrius additionally
 was active on SGU's Intramural Rt,gby and Football Teams (JJ-13), and was a member of the Greek
 Student Association (11-13). He additionally organized and managed the Journal Club bake sale
fimdraiser to benefit the Orphange StudentAssociation (11). ln addition to English, he is fluent in Greek.
 Outside of medicine, Demetrios e'7joys travel, hiking, gardening, weightlifting, hiking, cooking, learning
 Spanish, investing(finance, reading Sci-fl and fiction and movies.

Academic History
Medical School Graduation Date:                                            June 10, 2016

Medical School Matriculation Date:                                         .l<1nu1;1ry 17, 2011

Please explain any extensions, leaves of absence,
or breaks in the student's medical education program.
Demetrios was required to repeat one of his classes (derails below), necessitating extra time to complete
his basic sciences requirements; He took a leave of absence from 3/2/15 to 5/22/15 to attend to family
matters that required his attention after the death of his fiancee 's father. His own father then suddenly
passed away on June 12, 2015, while he was completing his EM rotation, he was permitted to return
home for a week to assist his family and then returned to complete the rotation. Thus his medical school
studies extend beyond the standard period.

Did the student withdraw, repeat, or remediate
any coursework during their medical education?                         �Yes-Please explain:
Demetrios withdrew from 1st term Human Gross and Developmental Anatomy, but retook it the following
term earning a grade of B. He failed 2nd term Medical Genetics and Genomics, but took a makeup exam,
earning a.final grade of B- for the course.

Academic Progress
BASIC SCIENCES CURRICULUM:
Dr. Vorgias completed basic sciences with a grade of B-, placing him in the 3rd academic quartile of his
class for that period.

CURRENT ACADEMIC PERFORMANCE:
Dr. Vorgias completed medical school with a.final grade of B+.

CLINICAL ROTATIONS:
Dr. Vorgias began the clb-1ica/ program in September 2013, and is required to complete core clerkships in
Medicine, Surge,y, Ob/Gyn, Pediatrics, and Psychiatry at our aj]ilic1ted hospitals. Additional
requirements include a 4-week Medicine Sub-Internship, 4-week Medicine and Pediatrics electives, and a
4-week Family Medicine or Primary Care elective, as well as 22 weeks of general electives. Narrative
comments from instructors are included below.




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  Core Clerkship
  Psychiatry                : 9/16/13 -10/25/13 i A i 6 weeks ! Spring Grove Hospital Center, MD
  ''Dr. Vorgias was an excellent student. Intelligent, hardworking, reliable, involved and affable. He
  developed effective therapeutic relationships with patients with a variety of illnesses and from a variety of
  backgrounds. Dr Vorgias showed excellent development in his knowledge of Psychlatry and in his
: clinical skills. He earned the respect of our interdisciplinary team."                                        I

· Elective
  Family Medicine          ! 11/4/13-12/13/13 \ P : 6 weeks            j   JFK Medical Center, NJ
  "Inquisitive, pleasant and hardworking." Continue reading."


: Core Clerkship
· Medicine               i 1/6/14- 3/28/14     I A : 12 weeks \ St. Peter's Univ. Hospital, NJ
  "Always compassionate and caring of his patients. Always striving to learn. Tremendous team player."
  [Demetrious received an A+ in Professional Behavior, and an A in Medical Knowledge, Clinical Skills,
  and the Oral Exam and a Bon the NBME Exam.]


j Core Clerkship
i Ob/Gyn                 l 3/31/14- 5/9/14         j B ; 6 weeks \ St. Peter's Univ. Hospital, NJ
I "Demetrios asks a lot of questions and seems interested. Positive attitude, thorough write ups. Helpful to
1 the team and follows up tasks that are assigned to him."




i Core Clerkship
· Pediatrics              i 5/12/14 - 6/20/14 i A i 6 weeks i St. Peter's Univ. Hospital, NJ
  "Demetrios is an enthusiastic and outgoing student. He showed a strong interest in learning Pediatrics. He
  was proactive in patient care settings and was helpful to patients and staff. Did a nice job of identifying a
  VSD on a neonate in the nursery. Always very interactive in teaching rounds."


 Core Clerkship
 Surgery                i 6/30/14-9/19/14       \ A \ 12 weeks I St. Peter's Univ. Hospital, NJ
 "Highly motivated during his tenure here at SPUH. Was well liked, enthusiastic and always available."
  [Demetrios received excellent grades in all components: Medical Knowledge, Clinical Skills,
 Professional Behavior, Oral Exam, and on the NBME.]


; Elective
  Pediatrics/Emergency 10/6/14-10/31/14           p      4 weeks      St. Joseph's Regional Med. Ctr. , NJ !
  Medicine
  "Did a nice job improving H and P oral presentation skills, motivated and worked hard. Needs a little help
  with organization and fund of knowledge." "Continue to read."




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    Elective
    Pediatrics/Adolescent I 11130/15 - 12/25/15 ; P 1 4 weeks          St. Joseph's RegionalMed. Ctr., NJ
    Medicine                 i
    "Demetrious worked very closely with me as attending and one of our Pediatric re idents." [Demetrious I
    received a Pass in all components: Medical Knowledge, Clinical Skills, and Professional Behavior.]


1
    Elective
    Medicine                1/5/15 -1/30/15       P      4 weeks ! Brooklyn Hospital Centel', NY
    "Demetrios performed excellently. He took detailed histories, conducted focused physical exams.
    Presentations were well organized and emphasized the pertinent aspe ts related to GI: He was always
    protes ional and showed compassion towards patients. He will make an excellent resident physician."


  Sub-Internship
I Medicine                 [ 2/2/15 - 2/27/15       ;P     4 weeks      Brooklyn Hospital Center, NY
    "He was very enthusiastic on rounds. He tried to always add to our discussions of cases."


1
    Elective
    Medicine/Emergency 5/25/15 - 6/19/B             P      4 weeks      St. Joseph's RegionalMed. Ctr. , NJ
    Medicine
    "Hard working and eager to see patients. He is enthusiastic during his shifts. He showed a willingness to
    learn and showed steady improvement throughout his rotation."


     Elective
     EmergencyMedicip.� I .7/6/15-7/31/15              P :, 4 weeks       Newark Beth IsraelMedical Ctr, NJ I
     '"'Pass." "Good m:i�dical studetiti Very patient and willing to go the extra mile. Helpful, great attitude."
     "Keep reading/'


    ; Elective
      Pediatrics•·.           : 9/7/15 - 10/2/15       i P , 4 weeks Miami Children's Hospital, FL                     \
      "Demetrios de1:nonstrated �a s rong interest in Pediatrics a � d pa �ient care. He .
                                                                                           was  always willing
                                                                                                            _ �
                                                                                                                o help I
      out the team wllh any type 1 task and took good     care of his  patients. D · metnous   took good lustones  and
      would foll w up on plan of care. He interacted wel1 with many consultants and asked pertinent questions
      during rounds. He would make a fine pediatrician I"




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Elective
Pediatrics/Adolescent 11/30/15 - 12/25/15 P       4 weeks    St.Joseph's Regional Med. Ctr., NJ
Medicine
(Demetrios received a Pass in all components: Medical Knowledge, Clinical Skills, and Professional
J:l���v��!1. -··-- .......     -   ·-···· -· ........


Elective
Neurology            I 2/1/16- 2/26/16    , P \ 4 weeks      JFK Medical Center, NJ
"Very pleasant to work with. Always interested in learning. Will do great in residency." [FINAL
ROTATION]

Summary
Dr. Vorgias has performed very well during medical school. He earned a score of 211 on USMLE Step I,
a Pass on Step 2-CS, and has performed very well in clinical rotations, earning four A 's and one B in his
core clerkships.

In addition to indicating academic quartile, SGU determines an Endorsement Level (EL) for all students
based on a detailed overview of their professional behavior as well as their academic performance. Given
that professional behavior cannot be calculated by the same mathematical standard by which grades are
measured, the EL may vary higher or lower than academic quartile.

In light of Dr. Vorgias 's professional conduct and academic performance, St. George's University
considers him a very strong candidate for a position with your institution.


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                                                        Dean. School of Medicine
Signature of School Official                            Title

St ph n Weitzman. MD                                      m eortheDeanSGUSOM(! ,sgu.cclu
Name of School Official                                 E-mail address




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                    Appendix A: SGUSOM Endorsement Level Distribution: 2015 Graduates 1


                                                      44%

                                           33%                                                 Iii Exceptional (E}

                                                                 22%
                                                                                               ■ Very Strong (VS}
                                                                                                  Strong (S)
                                                                               1%              HGood (G)



I)     Endorsement Levels are not yetfinalized for anticipated 20J 6 graduates so this distribution ref/eels peljormance of the most recent grad11a//11g class.

      Appendix B: SGUSOM Core Clerkship Grade Distribution: 2016 Graduates (circa Aug 2015)1

                                      A+              A           A-           B+          B         B-         C+            C           C-        F

           Medicine                 22%             59%           8%           2%        9%           -           -        <1%            ~         ~


                                     13%            60%           7%           4%       15%         1%         <1%          <1%           ~         ~
           Obl&yu
           Pediatrics               22%             62%           4%           3%        9%          1%           ~            -           ~         ~

           Ps�cbJatey                35%            56%           2%           2%         5%          -           ~            -           ~         ~


           SurgeJI)'                 16%            56%           9%           6%        13%          -           ~         <1%            ~         ~


J)     Not all core clerkship gradgs are ava//ablefor anticipated 2016 graduafes so this d/s/r/but/QII reflects appro.clmate perforn1a11ce ha.red 011 current data
       circa A11g11st 201 J, Further, this data is comprised of an average the two matr/cu/allng classes of each gr/Jduatlngyear (Jar, (1111/ Aug),

            Appendix C: SGUSOM Basic Sciences Grade Distribution: 2016 Graduates - MWPG1

                                                                                      44%




                                                                                                                            ■A/ A­
                                                                                                                               B+
                                                                                                                            ,., B / B-
                                                                                                                               S: C+


                                                                           %

 1)     Mean Weighted Percentage Grade, This data Is comprised of an average ofthe two matriculating classes of each graduating year (Jan and Aug).




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                                     Appendix D: Medical School Information
                                           I, George's Unlverslt,· School of Medlcinl'
                                                     Medical School Name
                                                    Gnmndu, West Indies
                                                        Location
Special program m atic emph11ses, strengths, misslon/goel(s) of the medical school:
Founded as an independent School of Medicine, St. George's University has provided high-quality medical education for over
thirty years. Since its inception, SGUSOM bas developed into an outstanding international educational institution. Its
community includes thousands of graduates, students, and teachers from more than 130 nations. Our medical school consists of
three programs providing a wide r.:mge of educational opportunities: 1) Medicine, 2) Master of Public Health, 3) Master of
Science (Research). A bachelor's degree with requisite sciences is required for entry into the four-year medical program.
SGUSOM is part of a large university containing schools of Veterinary Medicine, Graduate Studies, and Arts and Sciences,
immersing our students in a muUJfaceted educationnl environment. Med.ical education at SGUSOM begins with two years of
basic sciences in Grenudu. Alternately, studeo� can enroll in the Keith B. Taylor Global Scholars Program, which offers the
first two terms of basic sciences on the campus of Northombria University in the UK. Two years of clinical training are then
completed at affiliated te�ching hospitals with ACOME or other approved postgraduate training programs in the US and/or in
the UK. Every 2 credits of core clerkship rotations equals 40 hours. Each individual credit of elective rotations equals 40 hours.
Students are required to complete 80 weeks of rotations for a total of 3200 clinit;al hours. SGUSOM students and graduates
perfonn competitively on standardized exams. The success of om gniduates iil postgraduate education and in their subsequent
chosen fields has established St. George's University School ofMedicim: as II leader in international medical education.
Special ch aracteristics of the medical school's educational program:
SGUSOM offers training in basic and clinical sciences and follows a curriculum similar to that of many US medical schools.
We are listed in the FAIMER International Medical Education Directory (IMED) which confirms that all basic science classes
nnd associated coursework are taught exclusively in English. Students complete clinical training requirements in US or UK
hospitals where English is also the primary language. In addition to required basic sciences coursework, we have n number of
optional selective courses providing exposure to medicine and culture in Europe, Central America, Asia, Africa, India, and the
Caribbean. Other selectives enable students to focus on parLicular areas of medicine, explore alternative medicine, or obtain
skills in medical Spanish or American Sign Language. We have two honor societies: the Gold Humanism Honor Society,
which focuses on community service activities and professional behavior, and Iota Epsilon Alpha, which is primarily focused
on ncadcmic achievement with community service requirements. Our close ties to the people of Grenada provides our students
the opportunity to become a part of tho global community and substantively improve living conditions for Grenadians through
community neallh fuirs, volunteer opportunities al local orphanages, and other such activities. We have a very active student
government, and cultural associations representing a wide array of cultures, religions, and interests.

Average length of enroll ment (matriculation to graduntlon) at the medical school:
The enrollment period varies based on whether students matriculate in January or August. The general range is 4 - 4.5 years.

Description of the evaluation system used at the medical school:
SOU uses an A, B, C, F grading system for basic sciences courses and core clerkships. Beginning with the 2015 graduating
class, +/- modifiers have been added to both the basic sciences and clinical program. Students receive an Honors (A+)
designation for core clerkships if they earn A's in the Medical Knowledge, Clinical Skills, Professional Behavior, and Oral
Exam components of the rotation and an A+ on the NBME Clinical Subject Exam. A is for students who proficiently develop
all required clerkship competencies nnd who's overall performance is good. B is for students who adequately develop required
competencies and whose overall performance is acceptable. C is for sn1dents who barely meet minimum requirements. This
grade is a 'warning' grade and identifies a student who is struggling in medical school and may need remedial work or
counseling. F is for students whose continuation in medical school is at risk. An F in any component of the assessment
precludes a student from receiving credit for the rotation until remediation is successfully completed. NBME Clinical Subject
Exams are mandatory for all students regardless oftheir training site. Electives and Sub-Internships ere graded Pass/Fail.




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Medical school requirements for successful completion of USMLE Step 1, 2:
USM LI: Stc1, I;                                                            USMLl.l Step 2-CK:
D Required for promotion                                                    □ Required for promotion
D Required for graduation                                                   @Required for graduation  1

@Required to train in the United States                                     □ Required to train in the United States
D Required, but not for promotion/graduation                                D Required, but not for promotion/graduation
□ Not required                                                              O Not required
I)   Sludenls must pass either Step 2-CK or tho NBME C//n/ca/ Comprehensive Exam lo grad1111te.

Medical school requirements for successful completion of Objective/Observed Structured Clinical Evaluation (OSCE)
at medical school. OSCE's are used for:
□ Completion of course
□ Completion of clerkship
□ Completion of third year
@Graduation2
□ Other: ___________
2)   IfStep CS was not taken or was not passed

Utilization of the course, clerl<shlp, or sub-internship/elective director's narrative comments in composition of MSPE.
The nunative comments contained in the attached MSPE can best be described as (check one):
D Reported exactly as written
D Edited for length or grammar, but not for content
@ Edited for content or included selectively

Utilization by the medical school of the AAMC's 'Guidelines for Medical Schools Regarding Academic Transcripts.'
This medical school is:
□ Completely in compliance with Guidelines' recommendations
@Partially in compliance with Guidelines' recommendations
D Not in compliance with Guidelines' recommendations

Description of the process by which the MSPE Is composed at the medical school (Including number of school personnel
Involved In composition of the MSPE):
St. George's University SOM has thoroughly reviewed the AAMC's 'Guide to Preparation of the Medical Student
Performance Evaluation'. The purpose of our MSPE is to serve as an assessment of our students' acudcmic performance and
professional attributes while closely adhering to the AAMC's MSPE guidelines. Our MSPE contains six sections: Identifying
Information, Unique Characteristics, Academic History, Academic Progress, Summary, and four Appc;ndices: A) Endorsement
Level Distribution, B) Core Clerkship Grade Distribution, C) Basic Sciences Grade Distribution, and D) Medical School
Information. Under the instruction, guidance, and approval of Dr. Stephen Weitzman, Dean of the School of Medicine, the
MSPE team updates each student's MSPE throughout their third and fourth years of medical school. Information for the MSPE
is drawn from SGU records, composite and supplemental evaluations submitted by the hospitals where our students complete
rotations, student-provided resumes, and other information. We allow students to review their MSPE prior to submission to
correct any factual errors but students are not pennitted to revise evaluative statements. All students are assessed with an
Endorsement Level (EL) based on overall professional conduct as well as academic performance. The ElL is predominantly
determined by the narrative comments students receive during their rotations but is also informed by their interactions with
SOU faculty and staff ru; well as their professional behavior during basic sciences. In light of this, the EL does not always
correlate with academic quartile, i.e. an A+ student with professional behavior issues will not receive the highest EL.
Conversely, a B student with excellent narratives could receive a higher EL than their academic performance indicates. EL's
are subject to change until graduation based on additional information (e.g. professional conduct issues, changed grades, etc.).




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                                                                 St. Georn:e's Universitv                                                                       Page:           1
              Dernetrios Vorgias
     Record-of:                                                            UN d"'F FI CI j( L
Cu1Tent Name: Demetrios Vorgias

    Issued To:        student copy                                                                             Date Issued:              23-MAR-2017
                                                                                                              Date of Birth:             0 7 -MAR
                                                                                                                Student ID:              A006135 7 8
                                                                                                                      Level:             Doctor of Medicine


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    Case 1:21-cv-03013-SAB                       ECF No. 71-11                   filed 01/31/22                PageID.1336 Page 10 of 14
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      Record of: Demetri cs Vorgias                             O N O F J!' I C I A L



                                                                                                   Date Issued:    23-MAR-2017
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Case 1:21-cv-03013-SAB                                  ECF No. 71-11                       filed 01/31/22                     PageID.1338 Page 12 of 14



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              - SECONDARY SCHOOL                 DATB GRAOUATEO -                                                 -UNIVERSITY RBQUIREMENTS•
              BELLARMINE COLLEGE PREPAR JUNB 1993                                                             08•93 SUBJECT A                           -REQT SATISFIED
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       811 ADV PLACEMENT EXAM-AM HIST,05-92                                                                      FALL         SEMESTER      1996
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       821     INTRO PHYSICS                 PHYSICS       BA    4.0 F          o.o   RF          831       SURV BIOCHl!lM & MOBI MCELLBI                 102    4.0 D          4.0
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       822A CREDIT >.I.LOWED FOR 'WO!\K AT                                                                     SPRING         SEMBSTB:R     199B
       822B DE ANZA COL, 4 TRMS TO 06-96                                                          834 AMERICAN STUDIES                     EN<lLISH Cl36         4.0    B+     13.2
       822C UN 14.3                                                                               835       PHYSIOLO<lY OF AGING MCELLBI                 135K    3.0 B+         9.9
       822D WllST VALLEY COL, 4 TRMS TO 05-96                                                     836 DIRECTED GROUP STOY PB HLTH                         198    2.0 p                 PF
       B22E UN 31. S                                                                              836A SUPERV INDEP STUDY                  MCELLBI        199    4.0 p                 PF
       82211 TOTAL                                                                                                                                        7.0•         23.l•
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    Case 1:21-cv-03013-SAB                                                         ECF No. 71-11               filed 01/31/22               PageID.1339 Page 13 of 14



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                                                                                                           EX. 11
   Case 1:21-cv-03013-SAB                                                                         ECF No. 71-11                        filed 01/31/22                   PageID.1340 Page 14 of 14



                                                                                                      TRANSCRIPT INFORMATION
Otflce of the Roglslrer                                                                               Grade Points                                                   Repealed Courses
University ol Calllomla
Berkeley, Cellfomla 94720-5404                                                                        Grade points par unit are assigned as follows:                 The G-Sertes code appoar'lng alter a repeated course
                                                                                                      Aa4, B-3, c.2, 0.1, and F•none. Wh·en auaohod to               entry controls credit and grade points earned.
History                                                                                               the gradlls fl, B, C. il17d O. plus (1-) grade� cnrry 1hreo,
                                                                                                      rontlrn 01 a grado point moio por unit, and mlnua (·)           RD         Original D grade; unite auemplod, unite
The llr�versllY of Calllornla was ere, led by an Act of                                               gradQ� oorry Ihroo•t011lha 0111 g,nde polnl le�s pe, L1111I                passed and grade point&- counted
the State Legislature In 1668, and ch;1sses have been                                                 ll1a11 unsulflxed grades, excepl lor A+, wl11eh oa1,Ies         RF         O/lglnal F grode; unlls attempted
given at Berkeley since 1573.                                                                          4.0 grade points per unit as does an A.                                   counted
                                                                                                                                                                      RR         Orlglnal NP,I or NA; no credit
Units of Credit                                                                                       Courses graded P, NP, s, U, I, IP, or NA are not used                      calculation
                                                                                                      In computing tho grade point average.                           G1         o grade repealed; addltlonal grade
Until September 1966, credits were recorded as                                                                                                                                   points calculated
semester units (hours). From September 1966                                                           Scholastlc Standing                                              G+        D+ grade repealed; additional grade
through summer 1983 credl\8 were recorded as                                                                                                                                     points calculated
quarter unlls (hours). Beginning with the fall term,                                                  Good Standing                                                    G·        D- grade repeated; additional grade
 1983, crfl(llts ere recorded as semester units (hours).                                                                                                                         points celcutattid
Ouaner system requires 180 units for bacholor'e                                                       U11dorgrsdua10: Coverage (non•n�gallve balance)                 G2         F grade repeated; units passed and
degree. s0111eeter system, 120.                                                                       Gmd,1at11: B averoge or belle, ori all work .ahemp\ed
                                                                                                                                                                                 grade points calculated
                                                                                                      nI 011y UC camp"s niter a bschelo,·s degrao.                    PG         NP grade repeated; passed/not passed
Advanced Standing                                                                                                                                                                unite calculated
                                                                                                      Academic Probation                                               G0        NP grade repented lor a leller grade;
Transfer Credit
                                                                                                      Undorgraduate etudonts are pieced on ecademlc                              units auernpted, units passed, grade
Ont� crodll that ts acoeplad by the University la                                                     probation If al the end o/ any term their cumulatllte                      points caloUleted; Incomplete grade
lndloetod on Iha transorlpls of Berkeley students.                                                    gfacJe point average Is eee lhmi 2.0 I� overage)                           repeated with porml11Slon
lndlvldoal cowses ere not shown.                                                                      computed on the lolal or ai1 <;0ursas undertaken In the          GP        P grade repeated; no credit allowed
                                                                                                      Unlveralty. However, In 1ho Colleges of Ct1enolstry and          G5        C- or belier grade repeated; no credit
CLEP-Advanced Placement Credit                                                                        Engineering, proballon Is daIorrnlned on A lerrn basis.                    allowed
                                                                                                                                                                       GT        I (lapsed IP) grade repeated; units
E�emlnatlons end credits accepIed are lndlceled on                                                                                                                               attempted, units passed, grade points
the transcript In the same manner as transfer credit.                                                 Credit Codee
                                                                                                                                                                                 caloulaled
                                                                                                      Credit codes may determine lhe oelculallon of credit             GB        2nd repeal of an F without permission;
Course Numbering System                                                                               or annotate a course entry as follows:                                     only units passed calculated
           1 -99                   Lower division courses                                                                                                              GI        I repeated wllhout permleslon: units
    100- 199                       Upper division courses                                             Current Record■ System                                                     altempted, units passed, but no grade
    200• 299                       Graduate courses                                                   Fall 1975to Present                                                        points calculated
    300• 499                       Prolesslonal courses !or                                                                                                            GE        Units attempted end grade points
                                   teachers or prospective                                            Note: An "I" assigned ea of Fall 1973 to present Is not                    calculated; units passed not oeloulated
                                   teachers                                                           Included In grade point computation.
     600• 602                      Special Study                                                                                                                     Miscellaneous
                                                                                                      Pass/Fa/I Courses
                                                                                                                                                                       N1         Grade corrected by Instructor
Grades of Scholarehlp                                                                                 PF-Course oflered only on Pass/Not Pass baale                    K1         Credi\ by examination; see memoranda
Grades                                                                                                PINP-Undorgraduote grading option Passed/Nol                     DR         Course dropped alter eighth week of
                                                                                                      Passed                                                                      term
The work or all students on the Berkeley campus Is                                                    SF-Graduate grading option Satlslactory/
reported In terms of the lollowlng grades:                                                                                                                           Pref/XfJS
                                                                                                      UnsaUslaotory
                                                                                                      SU•Gradun10 courses offered only on Satisfactory/                C         Cross-listed
  A                    Excellent                                                                      Uns11t•slaclory basis                                            H         Honore
  B                    Good                                                                                                                                            N         Summer course
  C                    Fair                                                                           PF, P/NP, SF, SU courses are not Included In units               A         Reading & Composition
  D                    Barely Passed                                                                  ATTM (attempted) or units PSSD (passed), but are                 W         On-line
  F                    Failure                                                                        Included In CREDITS COMPLETED.
  P                    Passed at a minimum level of C-                                                                                                               Previous Record System
  NP                   Not Passed                                                                     Sequence Courses
                                                                                                                                                                     Prior to Fall 1975
  S                    Satisfactory or passed al a minimum                                            T'I, T2, T3-Sequenae coulae In progress
                       level of B-                                                                    TX-Sequonce course with vartable terms, In prolJless           Not11: An 'l' assigned prior to Fell 1973 Is Included In
   U                   Unsatisfactory                                                                 TP-Sequence course In progress , taken P/NP                    grade point computation as an F grade.
   I                   Work Incomplete, due to circumstances                                          TS-Sequence course In progress, Iaken SF
                       beyond the students conlrol, but of                                            2T, 3T1 TT, PT , ST·Flnal termof seqImI1ce course              Prior lo Fall 1966, explanations are Included on the
                       passing quality                                                                wllll total units and final grade                              transcripts:
   IP                  Work In progress; final grade to be
                       assigned upon completion ol entire                                              Resolution of /ncomplel11 Grades                                E          Education Abroad Program
                       course sequence                                                                                                                                 G          Course repeated
                       Temporary administrative grado1 not                                               J1          I replaced with letter grade                      GM         Duplicate Melrlculatlon Credit
   NA
                       Included In grade point computation                                               PJ          I replaced with a P or NP for an                  K          I grade completion deferred wllhout
                                                                                                                     undergraduate                                                loss ol grade points
 The grades A, B, C, and                        D may be modified by plus                                SJ          I replaced S or U ror a graduate                  L          I completed (replaced with grade)
 (+) or minus(·) sufllxes .                                                                              JT          I replaced with a grade tor llnal term or         M          Allowed to take credll by examination
                                                                                                                     sequence course                                   N          Grade points for l grade allowed upon
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                                                                                                                     undergraduate                                     a          Grade changed by Instructor
                                                                                                         Q1           I lapsed to F                                    V          Course In progress (sequence course)
 Uf1Wt1in�y ol G:Gl-!oin1C11 8o1��"V 10 lru:ilill'lljl1tl lhfl idrt,11•111; t'lf ac.;d11m u              Pl          I lapsed to NP
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                                                                                                         AZ           Replacement or original grade: no credit                    Division
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 tn'l)' M e,lInh1I� �"G•Oll.l 11• 10f'IM 1hl\n COll,liGC N/\Ml;'J 1rlr:1(1ll,'rn11dtud                                                                                 GL         Grade by special examination
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